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UNITED STATES DI`STRICT C()URT
SOUTHERN DlSTRICT OF OHI()
EASTERN DIVISION

UNITED STATES OF AMERICA,

Criminal Action 2:18-cr-60
v. Chief Judge Edmund A. Sargus, Jr.

GERALD LAWSON,

Defendant.

OPINION AND ORDER
This matter is before the Court on Det`endant Lawson’s Motion for Reconsideration of
Pretriai Detention Order (ECF No. 20.) Dei`endant requests to be released pending trial in this
matter. F or the reasons stated in open court on the record during the hearing on April 16, 2018,
Defendant’s Motion is DENIED. The Court finds that no condition or combination of
conditions will reasonably ensure the protection and safety of any person or the community The
Court ORDERS that Defendant’s detention shafl continue

IT IS SO ()RDERED.

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DATE EDMUN . sARc os, JR.
enter TED sTATEs nls'rmcr JUDGE

 

